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    8                          UNITED STATES DISTRICT COURT
    9                         CENTRAL DISTRICT OF CALIFORNIA
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   11    CoStar Group, Inc., et al.,              Case No.: CV 20-8819-CBM(ASx)
   12           Plaintiffs,                   ORDER RE: COUNTERCLAIM
         v.
   13                                         DEFENDANTS’ 12(B)(6) MOTION
         Commercial Real Estate Exchange Inc. TO DISMISS COUNTERCLAIM
   14
                                              [82]
             Defendant.
   15
   16         The matter before the Court is Plaintiffs and Counterclaim Defendants
   17   CoStar Group, Inc. and CoStar Realty Information, Inc.’s (collectively “CoStar”)
   18   Motion to Dismiss the Counterclaim brought by Defendant and Counterclaim
   19   Plaintiff Commercial Real Estate Exchange, Inc. (“CREXi”). (Dkt. 82.) The
   20   matter is fully briefed.
   21                                  I.   BACKGROUND
   22         CoStar provides commercial real estate (“CRE”) services in three relevant
   23   markets: CRE information, CRE listings, and CRE auction services. (CC ¶ 1, dkt.
   24   74.) CREXi is a competitor attempting to build its own online CRE marketplace
   25   and technology platform. (Id. ¶ 2.) CREXi alleges CoStar has 90% market share
   26   in each of these three markets and engages in anticompetitive and other illegal
   27   conduct in order to block and bankrupt competition. This conduct includes
   28   blocking CREXi from accessing any websites hosted by CoStar, altering
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    1   information and images on websites it hosts including by adding watermarks and
    2   its own logo, and a CoStar subsidiary including CREXi’s trademarked name in the
    3   header of advertisements placed on Google. The Court has previously ruled on a
    4   motion to dismiss in the underlying case. (Dkt. 71.)
    5          The Counterclaim was filed June 23, 2021, and alleges the following1:
    6   Claims 1–6 are for both monopolization and attempted monopolization under
    7   Section 2 of the Sherman Act, 15 U.S.C. § 2, for each of the three (3) relevant
    8   markets where CREXi and CoStar compete; Claims 7–8 are brought under Section
    9   1 of the Sherman Act, 15 U.S.C. § 1, and California’s Cartwright Act, B&P §
   10   16720, respectively, for CoStar’s use of exclusionary contract provisions; Claims
   11   9, 10, and 11 are brought under the Lanham Act for trademark infringement, 15
   12   U.S.C. § 1114, false advertising, 15 U.S.C. § 1125(a)(1)(B), and California’s False
   13   Advertising Law, B&P § 17500, respectively, due to CoStar’s use of CREXi’s
   14   trademark in certain Google ads; Claim 12 is brought under the “unfair” prong of
   15   California’s Unfair Competition Law (“UCL”) based on the anticompetitive
   16   conduct, B&P § 17200, and Claim 13 is brought under the unlawful prong of the
   17   UCL based on the antitrust, trademark, or false advertising claims; and Claim 14
   18   is for declaratory relief.
   19                           II.   STATEMENT OF THE LAW
   20          Defendants move to dismiss the entire Counterclaim with prejudice for
   21   failure to state a claim pursuant to Fed. R. Civ. Proc. 12(b)(6). Rule 12(b)(6)
   22   allows a court to dismiss a complaint for “failure to state a claim upon which relief
   23   can be granted.” Fed. R. Civ. Proc. 12(b)(6). Dismissal of a complaint can be
   24   based on either a lack of a cognizable legal theory or the absence of sufficient
   25   facts alleged under a cognizable legal theory. Balistreri v. Pacifica Police Dep’t,
   26   901 F.2d 696, 699 (9th Cir. 1990). To survive a motion to dismiss, the complaint
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         For readability of this Order the Court uses the word claims to refer to the causes
   28
        of action within the Counterclaim.
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    1   “must contain sufficient factual matter, accepted as true, to ‘state a claim to relief
    2   that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 663, (2009)
    3   (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007)). A formulaic
    4   recitation of the elements of a cause of action will not suffice. Twombly, 550 U.S.
    5   at 555. Labels and conclusions are insufficient to meet the plaintiff’s obligation to
    6   provide the grounds of his or her entitlement to relief. Id. “Factual allegations
    7   must be enough to raise a right to relief above the speculative level.” Id. On a
    8   motion to dismiss for failure to state a claim, courts accept as true all well-pleaded
    9   allegations of material fact and construes them in a light most favorable to the
   10   non-moving party. Manzarek v. St. Paul Fire & Marine Ins. Co., 519 F.3d 1025,
   11   1031–32 (9th Cir. 2008). The court may only consider the allegations contained
   12   in the pleadings, exhibits attached to or referenced in the complaint, and matters
   13   properly subject to judicial notice. Tellabs, Inc. v. Makor Issues & Rights, Ltd.,
   14   551 U.S. 308, 322 (2007).2
   15                                   III.   DISCUSSION
   16   A.    Antitrust Claims
   17         CREXi brings a total of eight antitrust claims against CoStar. CREXi brings
   18   a total of six claims under Section 2 of the Sherman Act for both monopolization
   19   and attempted monopolization in each of the three markets in which they compete.
   20   (CC ¶¶ 28–46.) CREXi also brings one claim under Section 1 of the Sherman Act
   21   and another under California’s Cartwright Act for CoStar’s use of exclusionary
   22   contractual provisions. (CC ¶¶ 30 –316.) All of CREXi’s antitrust claims require
   23   CoStar to have engaged in anticompetitive conduct; the only difference between
   24   the statutory requirements of the Sherman Act claims is that “Whereas § 1 of the
   25   Sherman Act targets concerted anticompetitive conduct, § 2 targets independent
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         At the hearing both parties presented and discussed information beyond the
        allegations in the Counterclaim which the Court declines to consider for purposes
   28   of ruling on the instant Motion to Dismiss.

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    1   anticompetitive conduct.” Qualcomm, 969 F.3d at 989–90 (emphasis in original);
    2   Cty. of Tuolumne v. Sonora Cmty. Hosp., 236 F.3d 1148, 1160 (9th Cir. 2001)
    3   (explaining that the analysis under the Cartwright Act mirrors the Sherman Act).
    4   The Court will therefore conduct a single analysis of the alleged anticompetitive
    5   conduct in this case instead of a separate analysis for each statutory provision.
    6   Qualcomm, 969 F.3d at 991.
    7         The Court starts its analysis of CREXi’s antitrust claims by evaluating the
    8   alleged conduct in light of the recognition in antitrust law that a business generally
    9   has the right to refuse to deal with its competitors. The Court then evaluates
   10   CoStar’s alleged market power, a required element for all of CREXi’s antitrust
   11   claims, based the allegations of CoStar’s market dominance in the geographic
   12   markets where its anticompetitive conduct occurred.
   13             1. Alleged Anticompetitive Conduct
   14         CREXi alleges that in each the relevant product markets (Internet CRE
   15   listing services, Internet CRE information services, and Internet CRE auction
   16   services) CoStar engaged in three types of anticompetitive conduct: imposing
   17   exclusionary contractual and technological measures, falsely claiming ownership
   18   over CRE information, and infringing CREXi’s trademark.3 (CC ¶¶ 109(i)-(iii).)
   19                   a. Refusal to Deal
   20         “As a general rule, businesses are free to choose the parties with whom they
   21
   22   3
          At least some of the alleged conduct could not plausibly impact all three of the
   23   relevant product and geographic markets. For example, the alleged trademark
        infringement is limited to a CoStar subsidiary’s ads on Google for its own Internet
   24   CRE auction services, often for specific cities, that also used CREXi’s mark.
   25   There are no plausible allegations connecting that trademark infringement with
        anticompetitive results in the other two product markets or any other geographic
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        market. However, the Court does not need to address the relationship between
   27   each category of alleged anticompetitive conduct, product market, and
        hypothetical geographic market because each of these is a required element of
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        CREXi’s antitrust claims and each of them is based on deficient allegations.
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    1   will deal, as well as the prices, terms, and conditions of that dealing.” Pac. Bell
    2   Tel. Co. v. linkLine Commc'ns, Inc., 555 U.S. 438 (2009) (“Linkline”). Likewise,
    3   “the Sherman Act ‘does not restrict the long recognized right of [a] trader or
    4   manufacturer engaged in an entirely private business, freely to exercise his own
    5   independent discretion as to parties with whom he will deal.’” Verizon Commc'ns
    6   Inc. v. Law Offices of Curtis V. Trinko, LLP, 540 U.S. 398, 407-08 (alteration in
    7   original) (quoting United States v. Colgate & Co., 250 U.S. 300, 307 (1919)); see
    8   also Trinko, 540 U.S. at 411 (“there is no duty to aid competitors.”). “[T]he U.S.
    9   Supreme Court has recognized that a market participant’s right to refuse to deal
   10   with competitors generally serves procompetitive purposes, and that restricting
   11   that right can have anticompetitive effects.” Facebook, Inc. v. BrandTotal Ltd.,
   12   No. 20-CV-07182-JCS, 2021 WL 3885981, at *7 (N.D. Cal. Aug. 31, 2021)
   13   (quoting Trinko, 540 U.S. at 407–08). “This is because the antitrust laws,
   14   including the Sherman Act, were enacted for the protection of competition, not
   15   competitors.” Fed. Trade Comm'n v. Qualcomm Inc., 969 F.3d 974, 993 (9th Cir.
   16   2020) (quotation omitted) (“Qualcomm”).
   17         There are also certain “limited exceptions” to a business’s right to refuse to
   18   deal with its competitors when antitrust laws will in fact require competitors to
   19   deal with each other, such as the Essential Facilities doctrine identified by the
   20   Ninth Circuit. This doctrine “imposes liability where competitors are denied
   21   access to an input that is deemed essential, or critical, to competition.” Aerotec
   22   Int’l, Inc. v. Honeywell Int'l, Inc., 836 F.3d 1171, 1184 (9th Cir. 2016)
   23   (“Aerotec”). This doctrine requires, among other things, that competitors be
   24   “unable reasonably or practically to duplicate the facility,” and is limited to where
   25   control of a facility “carries with it the power to eliminate competition in the
   26   downstream market.” Id. at 1185 (quoting Alaska Airlines, Inc. v. United Airlines,
   27   Inc., 948 F.2d 536, 544 (9th Cir. 1991)). CREXi expressly disclaims reliance on
   28   any exception to the refusal to deal doctrine because it argues CoStar is directly

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    1   liable under antitrust laws, but CREXi seeks to have CoStar’s data treated as if it
    2   were an Essential Facility even though its current allegations do not satisfy the
    3   requirements of that doctrine. Moreover, the existence of such exceptions
    4   emphasizes how narrow and rare the circumstances are when antitrust laws will
    5   affirmatively require businesses to deal with their competitors such as through
    6   sharing access to data. The Court therefore reviews CoStar’s alleged conduct to
    7   determine whether it was anticompetitive or merely a business’s legitimate refusal
    8   to provide free aid and assistance to its competitor.
    9
                        b. CoStars Blocks Competitors from Accessing CRE Listing
   10
                            Information on its Own Websites
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              CREXi argues that CoStar imposes exclusionary contractual provisions and
   12
        technological measures in order to “block competitors from accessing public CRE
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        information” on CoStar’s own website, the website of its subsidiary LoopNet, and
   14
        the websites of independent brokers that are hosted by its subsidiary LoopLink.4
   15   (CC ¶¶ 109, 112, 116.)
   16         CREXi repeatedly alleges CoStar has made the blocked CRE listing
   17   information available to the “public” for free and continually describes it as
   18   “publicly available” but CREXi fails to explain either of those terms and how they
   19   support its antitrust claims. (E.g., id. ¶¶ 31, 163 (alleging CoStar “has adopted
   20   and enforced anticompetitive contractual and other exclusionary measures to
   21   block competitors from accessing publicly available CRE listing information on
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          For the purposes of analyzing the sufficiency of CREXi’s antitrust
   24   counterclaims, the Court ignores any factual disputes and generally finds it
   25   unnecessary to distinguish which specific subsidiary’s website contained the CRE
        information because it is undisputed that they were all ultimately hosted by
   26
        CoStar. The Court recognizes, however, that there may be significant differences
   27   in what CoStar is permitted to do contractually or otherwise when the CRE
        information is located on an independent broker’s website that is hosted by a
   28
        CoStar subsidiary.
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    1   LoopNet, CoStar, and LoopLink-hosted broker websites.”).) But there is an
    2   inherent contradiction between the allegations that CoStar chose to make this
    3   information available to the public for free and the allegations that CREXi and
    4   competitors have been blocked from accessing information available to the public.
    5   (Compare CC ¶¶ 120–129 with id. ¶¶ 130–145.) This is because if CREXi and
    6   others have been blocked then, by definition, that information was never available
    7   to the public. PUBLIC, Black's Law Dictionary (11th ed. 2019) (“Open or
    8   available for all to use, share, or enjoy.”). More accurately described, CoStar
    9   chose to make the Internet CRE listing information available for free to the
   10   anyone except its direct competitors.
   11         CREXi argues that being blocked from CoStar’s websites prevents brokers
   12   from making “public” listings available to competitors and is analogous to Lorain
   13   Journal Co v. United States, where the Supreme Court found that newspapers
   14   committed an antitrust violation when they prohibited advertisers from using
   15   radio. 42 U.S. 143, 152 (1951). But the analogy fails because CoStar blocking
   16   CREXi from its own websites does not forbid brokers from hiring CREXi or even
   17   stop brokers from sharing the exact same information to both CREXi and
   18   CoStar—it only appears to stop CREXi from accessing broker information
   19   through CoStar’s own websites. The fundamental problem for CREXi is that
   20   “[o]nce brokers prepare listing information for a new property, they do not want to
   21   re-create it.” (CC ¶ 118.) But this unwillingness by brokers cannot be described
   22   as anticompetitive conduct by CoStar.
   23         In effect, CREXi seeks assistance in the form of free access to valuable
   24   information solely because CoStar chose to give that information to others for
   25   free. But the antitrust laws do not compel CoStar to provide such assistance to a
   26   competitor. CREXi argues this is not assistance under the refusal to deal doctrine
   27   because it instead merely seeks to stop CoStar’s affirmative steps of imposing a
   28   vertical input restraint by “chok[ing] off competitors’ access to public CRE listing

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    1   information that CoStar does not own.” (Opp’n at 8 (emphasis omitted)). But as
    2   explained above, this information was not “public,” the fact that CoStar does not
    3   own it only highlights that CREXi has not been denied access to anything it
    4   cannot obtain it elsewhere, and it is legally irrelevant because “mandating access .
    5   . . shares the same concerns as mandating dealing with a competitor.” See
    6   Aerotec, 836 F.3d at 1185. Therefore, as a matter of law, the information CREXi
    7   seeks from CoStar (for free no less) constitutes a form of assistance under the
    8   antitrust laws that CoStar is not obligated to provide.
    9         Accordingly, it is not anticompetitive conduct for Costar to block its
   10   competitors from accessing CRE listing information hosted on its own websites.
   11                    c. CoStar’s Claims of Ownership over CRE Information and
   12                       Photographs on its Own Websites
   13         CREXi next argues that even though CoStar’s contracts with brokers do not
   14   contain an exclusivity clause, CoStar has established a de facto exclusivity clause
   15   that raises costs and creates a barrier to entry for competitors through its claims of
   16   ownership over CRE information and photographs, including by altering
   17   information and adding watermarks and logos onto some photos it hosts. (CC ¶
   18   171-189.) This exclusivity clause allegedly constitutes anticompetitive conduct
   19   because it raises the costs for CoStar’s rivals and creates a barrier to their entry.
   20   However, these allegations are insufficient because they do not show how the “de
   21   facto” exclusivity clause “substantially foreclosed dealing with a competitor for
   22   the same good or service” because brokers expressly retain the rights to the
   23   original information and photographs they provided to CoStar. Aerotec, 836 F.3d
   24   at 1182. This alleged de facto exclusivity clause therefore cannot increase or
   25   otherwise impact CREXi’s costs when it obtains information directly from the
   26   brokers or any other source besides CoStar’s websites. Further, CoStar adding
   27   watermarks or logos to the versions hosted on its websites only increases CREXi’s
   28   costs because it makes copying CoStar less financially appealing, presumably

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    1   because CREXi is unwilling to host pictures with a competitor’s logo or
    2   watermark. (CC ¶¶ 114-16.) It is not anticompetitive for CoStar to seek to limit
    3   the amount it in effect subsidizes its competitors.
    4         As explained above, CoStar is under no obligation to provide information or
    5   photographs to CREXi at all, so its decision in some cases to add watermarks or
    6   logos to the information to hosts is not anticompetitive conduct.
    7                   d. CoStar Infringes CREXi’s Trademark
    8         CREXi finally argues that CoStar engaged in anticompetitive conduct by
    9   blatantly infringing on its trademark when it purchased CREXi as a Google
   10   AdWord as well as when it included CREXi in the header to Google ads for
   11   CoStar’s Ten-X product. (CC ¶¶ 190-206.) CREXi cites to two cases to argue
   12   that trademark infringement in combination with other exclusionary conduct may
   13   constitute anticompetitive conduct under Section 2 of the Sherman Act. (Opp’n at
   14   13 (citing Church & Dwight Co. v. Mayer Labs., Inc., 2011 WL 1225912, at *16
   15   (N.D. Cal. Apr. 1, 2011) and Dodge Data & Analytics LLC v. iSqFt, Inc., 183 F.
   16   Supp. 3d 855, 868 (S.D. Ohio 2016)).) But neither case reaches that conclusion,
   17   and such a holding is contrary to the actual standards applied by those courts.
   18   Church required the trademark infringement to “establish substantial foreclosure
   19   from competition,” 2011 WL 1225912, at *16, and Dodge Data required “the
   20   conduct be designed to have an anticompetitive effect on the relevant market,”
   21   183 F. Supp. 3d at 868. CREXi does not reference either of these holdings, and
   22   under either standard the Counterclaim’s allegations regarding a relatively limited
   23   number of instances of trademark infringement in ads for a CoStar subsidiary are
   24   insufficient.
   25         Accordingly, CoStar’s alleged infringement of CREXi’s trademark does not
   26   constitute anticompetitive conduct.
   27             2. Allegations of Market Power
   28         “Market power is the ability to raise price profitably by restricting output.”

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 1   Ohio v. Am. Express Co., 138 S. Ct. 2274, 2288 (2018) (emphasis removed)
 2   (quoting Philip E. Areeda & Herbert Hovenkamp, Antitrust Law: An Analysis of
 3   Antitrust Principles and Their Application ¶ 5.01 (4th ed. 2017)). “A threshold
 4   step in any antitrust case is to accurately define the relevant market, which refers
 5   to ‘the area of effective competition.’” Qualcomm, 969 F.3d at 992 (citing Am.
 6   Express Co., 138 S. Ct. at 2285). Under Section 1 and Section 2 of the Sherman
 7   Act “the plaintiff must allege both that a ‘relevant market’ exists and that the
 8   defendant has power within that market.” Newcal Indus., Inc. v. Ikon Off. Sol.,
 9   513 F.3d 1038, 1044, 1044 n.3 (9th Cir. 2008). “The relevant market must include
10   both a geographic market and a product market.” Hicks v. PGA Tour, Inc., 897
11   F.3d 1109, 1120 (9th Cir. 2018). Such allegations need not be pled with
12   specificity. Newcal Indus., Inc., 513 F.3d at 1045. Although the “validity of the
13   ‘relevant market’ is typically a factual element rather than a legal one,” an
14   antitrust complaint may be dismissed under Rule 12(b)(6) “if the complaint's
15   ‘relevant market’ definition is facially unsustainable.” Id. In addition, “failure to
16   identify a relevant market is a proper ground for dismissing a Sherman Act claim.”
17   Tanaka v. Univ. of S. California, 252 F.3d 1059, 1063 (9th Cir. 2001).
18         CREXi alleges the relevant product markets for its antitrust claims are
19   “Internet CRE listing services, Internet CRE information services, and Internet
20   CRE action services,” (CC ¶ 28) and the relevant geographic markets are
21   “individual metropolitan areas.” (Id. ¶ 47.) In order to establish CoStar’s market
22   power, CREXi alleges on information and belief for each product market that
23   CoStar’s current share is over either 90% or 95% and that “CoStar is dominant in
24   an overwhelming majority of metropolitan areas.” (Id. ¶¶ 102–104.) CoStar does
25   not challenge CREXi’s identification of the relevant product markets but does
26   challenge its allegations regarding the relevant geographic market and its
27   dominance in that market.
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 1                   a. Geographic Market of the Antitrust Violations
 2         “A geographic market is an area of effective competition where buyers can
 3   turn for alternate sources of supply.” Morgan, Strand, Wheeler & Biggs v.
 4   Radiology, Ltd., 924 F.2d 1484, 1490 (9th Cir. 1991) (cleaned up). A geographic
 5   market must “‘correspond to the commercial realities’ of the industry and be
 6   economically significant.” Brown Shoe Co. v. United States, 370 U.S. 294, 336
 7   (1962) (“although the geographic market in some instances may encompass the
 8   entire Nation, under other circumstances it may be as small as a single
 9   metropolitan area.”) (citation omitted). In other words, “a market is the group of
10   sellers or producers who have the actual or potential ability to deprive each other
11   of significant levels of business.” Rebel Oil Co. v. Atl. Richfield Co., 51 F.3d
12   1421, 1434 (9th Cir.1995) (quoting Thurman Indus., Inc. v. Pay 'N Pak Stores,
13   Inc., 875 F.2d 1369, 1374 (9th Cir.1989)) (internal quotation marks omitted).
14         CoStar argues that the allegations of the geographic markets for CREXi’s
15   antitrust claims are insufficient because they do not identify a single specific
16   location, provide a definition of what constitutes “individual metropolitan areas,”
17   or explain why the claim is limited to those metropolitan areas, and that these
18   deficiencies also prevent it from defending itself. (Mot. at 15; Reply at 6 (quoting
19   Orchard Supply Hardware LLC v. Home Depo USA, Inc., 939 F. Supp. 2d 1002,
20   1010 (N.D. Cal. 2013)).) While CREXi correctly notes that the factual scope of
21   the geographic market cannot be resolved on a motion to dismiss, an antitrust
22   complaint may be dismissed at the 12(b)(6) stage if the allegations of market
23   power are “facially unsustainable,” Newcal Indus., Inc., 513 F.3d at 1044, or
24   “fail[] to identify a relevant market,” Tanaka, 252 F.3d 1059, 1063. “Individual
25   metropolitan areas” is insufficient under either standard. CREXi’s three-word
26   allegation is essentially a placeholder that contains virtually no factual details and
27   makes it impossible to know whether any location is part of this lawsuit or not.
28   Flaa v. Hollywood Foreign Press Ass'n, No. 2:20-CV-06974-SB (Ex), 2021 WL

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 1   1399297, at *6 (C.D. Cal. Mar. 23, 2021) (holding that “vague, confusing, or
 2   economically nonsensical market allegations” may be challenged at the pleading
 3   stage). None of the cases CREXi cites contain allegations of a geographic market
 4   as undefined as “individual metropolitan areas,” and this description fails to
 5   provide CoStar with notice of the markets being targeted or the opportunity to
 6   defend itself.
 7         CREXi therefore fails to sufficiently allege the geographic market for its
 8   antitrust claims.
 9                       b. Market Dominance
10         Along with a relevant market definition, a plaintiff must plead that the
11   defendant has power within that market. Newcal Indus., Inc., 513 F.3d at 1052.
12   Market power may be demonstrated through either of two types of proof: (1)
13   “direct evidence of the injurious exercise of market power,” i.e., “evidence of
14   restricted output and supracompetitive prices;” or (2) more commonly,
15   “circumstantial evidence pertaining to the structure of the market.” Rebel Oil Co.,
16   Inc. v. Atl. Richfield Co., 51 F.3d 1421, 1434 (9th Cir. 1995). “To demonstrate
17   market power circumstantially, a plaintiff must: (1) define the relevant market, (2)
18   show that the defendant owns a dominant share of that market, and (3) show that
19   there are significant barriers to entry and show that existing competitors lack the
20   capacity to increase their output in the short run.” Id.
21         “Direct evidence of anticompetitive effects would be proof of actual
22   detrimental effects on competition.” Am. Express Co., 138 S. Ct. at 2284
23   (quotation and citation omitted). Market power must ordinarily be assessed in the
24   context of a properly defined relevant market, id. at 2284–2285, but here the
25   allegations CREXI identifies as direct evidence of CoStar’s market power are
26   largely conclusory, anecdotal, implausible, or legally insufficient to establish
27   detrimental effects to competition such as CoStar’s ability to “control prices or
28   exclude competition.” (Opp’n at 16–17 (quoting Cost Mgmt. Servs., 99 F.3d at

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 1   950).) For the reasons discussed above, the Court is unable to evaluate the
 2   plausibility of CREXi’s allegations that CoStar’s current share of each product
 3   market is over 90% or 95% in the absence of a properly defined geographic
 4   market. Finally, CREXi does not allege facts demonstrating that CoStar’s
 5   competitors “lack the capacity to increase their output in the short run.” Rebel Oil
 6   Co., Inc., 51 F.3d at 1434. The Counterclaim therefore fails to allege CoStar’s
 7   market power in the relevant markets.
 8         Based on the foregoing deficiencies, Claims 1–8 in the Counterclaim for
 9   antitrust violations under Section 1 and Section 2 of the Sherman Act and the
10   Cartwright Act are dismissed with leave to amend.
11   B.    Trademark Infringement
12         CREXi’s ninth counterclaim alleges that CoStar committed trademark
13   infringement in violation of the Lanham Act, 15 U.S.C. § 1114. “To prevail on a
14   claim of trademark infringement under the Lanham Act, 15 U.S.C. § 1114, a party
15   must prove: (1) that it has a protectible ownership interest in the mark; and (2) that
16   the defendant’s use of the mark is likely to cause consumer confusion.” Network
17   Automation, Inc. v. Advanced Sys. Concepts, Inc., 638 F.3d 1137, 1144 (9th Cir.
18   2011) (citation and quotation omitted). CoStar argues that CREXi has not
19   plausibly alleged that its use of CREXi trademark in its Google AdWord ads
20   created a likelihood of confusion among the sophisticated consumers bidding on
21   commercial real estate, and its alleged infringement would not have resulted in a
22   diverted sale and would have only impacted a consumer’s “initial interest.” The
23   Court declines to consider these arguments on a motion to dismiss.
24         The Court rejects as premature CoStar’s invitation at this stage to focus
25   only on two of the eight factors discussed in Sleekcraft, AMF, Inc. v. Sleekcraft
26   Boats, 599 F.2d 341, 348-49 (9th Cir. 1979), and conclude its purchase and use of
27   CREXi’s mark in ads for Ten-X could not create a likelihood of confusion as a
28   matter of law. CoStar may ultimately prove to be correct on both points, but

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 1   drawing all factual inferences in CREXi’s favor, as the Court must on a motion to
 2   dismiss, the Counterclaim alleges sufficient facts to state a claim for trademark
 3   infringement under the Lanham Act.
 4         CoStar also argues that “initial interest confusion” provides no basis for
 5   relief under the Lanham Act “where the confusion is remedied prior to sale,”
 6   citing to an opinion from the Southern District of Florida. Blue Water
 7   Innovations, LLC v. Fettig, 2019 WL 1904589, at *3 (S.D. Fla. Mar. 8, 2019).
 8   But the preceding sentence of the opinion notes that the Eleventh Circuit has not
 9   expressly decided the issue. Id. (quoting Brain Pharma, LLC v. Woodbolt
10   Distribution, LLC, No. 12-60141-CIV, 2012 WL 12838277, at *6 (S.D. Fla. May
11   1, 2012)) (discussing N. Am. Medical Corp. v. Axiom Worldwide Inc., 522 F.3d
12   1211, 1222 (11the Cir. 2012))). It is well-settled in the Ninth Circuit that even
13   though initial interest confusion is “dispelled before an actual sale occurs, initial
14   interest confusion impermissibly capitalizes on the goodwill associated with a
15   mark and is therefore actionable trademark infringement.” Playboy Enterprises,
16   Inc. v. Netscape Commc'ns Corp., 354 F.3d 1020, 1025 (9th Cir. 2004).
17         Accordingly, CREXi alleges sufficient facts to state a claim for trademark
18   infringement under the Lanham Act.
19   C.    False Advertising
20         CREXi’s tenth claim is for false advertising under the Lanham Act, 15
21   U.S.C. § 1125(a)(1)(B), and its eleventh claim is for false advertising under
22   California’s False Advertising Law, Business and Profession Code § 17500. The
23   parties agree that these claims are “substantially congruent” and can be analyzed
24   together. Establishing a false statement in violation of the Lanham Act requires
25   proving:
26                (1) a false statement of fact by the defendant in a
27                commercial advertisement about its own or another's
28                product; (2) the statement actually deceived or has the

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 1                tendency to deceive a substantial segment of its
 2                audience; (3) the deception is material, in that it is likely
 3                to influence the purchasing decision; (4) the defendant
 4                caused its false statement to enter interstate commerce;
 5                and (5) the plaintiff has been or is likely to be injured as
 6                a result of the false statement, either by direct diversion
 7                of sales from itself to defendant or by lessening of the
 8                goodwill associated with its products.
 9   Wells Fargo & Co. v. ABD Ins. & Fin. Servs., Inc., 758 F.3d 1069, 1071 (9th Cir.
10   2014). CoStar seeks dismissal for CREXi’s failure to satisfy the first three
11   elements listed above: false statement, deception, and materiality.
12         CREXi’s false advertising claims are limited to the same Ten-X ads at issue
13   in its claim for trademark infringement. The Counterclaim alleges that CoStar’s
14   use of CREXi’s mark “constitutes false advertisements that misrepresent the
15   nature, characteristics, and qualities of CoStar’s products and services.” (CC ¶¶
16   201–204, 326, 331.) Although CREXi provides no supporting factual details for
17   the Court to review, the Counterclaim does contain screenshots of ads which the
18   Court has reviewed to determine if CREXi has stated claims for false advertising.
19   (Id. ¶¶ 200, 202.)
20             1. False Statement
21         To satisfy the first element an actionable statement must be “a specific and
22   measurable claim, capable of being proved false or of being reasonably interpreted
23   as a statement of objective fact.” Ariix, LLC v. NutriSearch Corp., 985 F.3d 1107,
24   1121 (9th Cir. 2021) (quotation omitted). CREXi alleges that CoStar’s ads are
25   false because they use CREXi’s mark, but in considering the ads both with and
26   without the offending word, CREXi does not explain how the inclusion of the
27   word “CREXi” in the ads “misrepresents the nature, characteristics, qualities,” of
28   CoStar’s products and services, as required to state a claim for false advertising

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 1   under the Lanham Act. 15 U.S.C. § 1125(a)(1)(B). CREXi does not, for example,
 2   argue the ads were ambiguous or otherwise implied a false statement. Prager
 3   Univ. v. Google LLC, 951 F.3d 991, 1000 (9th Cir. 2020) (“Although a false
 4   advertising claim may be based on implied statements, those statements must be
 5   both specific and communicated as to deceive a significant portion of the
 6   recipients.”). CREXi also cites to U-Haul Int’l, Inc. v. Jartran, Inc., but the
 7   alleged ads do not contain any comparative claims (deliberately false or
 8   otherwise) about CREXi or its products. 793 F.2d 1034, 1040 (9th Cir. 1986).
 9   Confusingly, CREXi instead argues that the inclusion of its name renders the ads
10   subject to the “literal falsity” doctrine. (Mot. at 22–23.) As explained by Judge
11   Posner in Southland Sod Farms v. Stover Seed Co., 586 F.3d 500, 513 (7th Cir.
12   2009) (“Southland”) the “literal falsity” doctrine creates a presumption of
13   deception for a “patently false statement that means what it says to any
14   linguistically competent person.” Here, just as in Southland, merely stating a
15   competitor’s name cannot render an ad “literally false” because, inter alia, “there
16   is no statement in the ordinary sense, because there is no verb.” Id. (reminding
17   plaintiffs they cannot “just intone ‘literal falsity’ and by doing so prove a violation
18   of the Lanham Act.”).
19             2. Likely to Deceive
20         On the second element of deception for a false advertising claim under the
21   Lanham Act, CoStar argues that its ads could not have deceived or had a tendency
22   to deceive a substantial segment of their audience. However, in analyzing
23   CREXi’s claim for trademark infringement, the Court has already concluded that,
24   at least for the purposes of the Motion to Dismiss, the Counterclaim sufficiently
25   alleges that CoStar’s use of CREXi’s mark is likely to cause confusion or deceive.
26             3. Materiality
27         However, not all deceptions are actionable as false advertisements, and
28   CoStar’s use of CREXi’s mark was not material because it did not influence the

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 1   purchasing decision of any consumer for two distinct reasons. First, CREXi’s
 2   argues that the use of its mark created a false belief that CoStar and CREXi were
 3   affiliated, but the Counterclaim’s allegations are entirely conclusory and
 4   insufficient to plausibly establish an impact to any consumer’s decision on which
 5   website to use to buy or sell commercial real estate. (See CC ¶ 326–27.) Second,
 6   in order for a deception to be material a consumer necessarily must have been
 7   exposed to it, and CREXi also fails to allege facts establishing that consumers of
 8   commercial real estate were ever even exposed to these ads. The Ninth Circuit
 9   has held that false statements in a video jacket were immaterial and could not
10   influence a purchasing decision when the video was sold to consumers over the
11   phone who never saw it. Rice v. Fox Broad. Co., 330 F.3d 1170, 1181 (9th Cir.
12   2003), overruled on other grounds by Skidmore as Tr. for Randy Craig Wolfe Tr.
13   v. Led Zeppelin, 952 F.3d 1051 (9th Cir. 2020) (en banc). Similarly, the
14   Counterclaim simply provides no factual allegations from which the Court can
15   conclude that consumers making decisions regarding buying or selling
16   commercial real estate online could have been exposed to CoStar’s ads. (CC ¶
17   204.)
18           Accordingly, CREXi fails to plead sufficient facts to state its tenth claim for
19   false advertising under the Lanham Act and eleventh claim for false advertising
20   under California’s False Advertising Law and the Court dismisses them with leave
21   to amend.
22   D.      UCL Claims
23           The Counterclaim alleges two distinct UCL claims. The Counterclaim’s
24   twelfth claim is for violations of the UCL under the unfair prong, while its
25   thirteenth claim is for violations under the unlawful prong. The UCL claim based
26   on the unlawful prong states a claim predicated on trademark infringement, as
27   discussed above.
28           CREXi argues that CoStar’s practices also constitute unfair competition

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 1   under California law, relying heavily on the Ninth Circuit’s recent opinion in hiQ
 2   Labs, Inc. v. LinkedIn Corp., 31 F.4th 1180, 1194 (9th Cir. 2022) (“hiQ”). But the
 3   facts and claims at issue in hiQ were very different from those presented by the
 4   Counterclaim. HiQ involved a data analytics company scraping data from
 5   professional profiles available on LinkedIn to create “people analytics” which it
 6   sold to business clients. Id. at 1187. LinkedIn attempted to electronically block it
 7   from accessing its website and data, and hiQ obtained a preliminary injunction
 8   based on its claim under California law for intentional interference with
 9   contractual relations because being blocked from LinkedIn’s data would prevent it
10   from fulfilling its existing contracts with third parties and put it out of business.
11   Significantly, CREXi does not bring a claim for tortious interference with
12   contractual relations or even allege any such contracts exist, and the Ninth Circuit
13   expressly declined to reach hiQ’s UCL claim. Id. at 1194. The Ninth Circuit’s
14   comment that blocking hiQ from accessing otherwise public data on LinkedIn’s
15   servers “may well be considered unfair competition under California law” was
16   expressly based on the fact that blocking hiQ would result in the “complete
17   exclusion of the original innovator in aggregating and analyzing the public
18   information.” Id. at 1193–94. But CREXi is not the “original innovator” in
19   aggregating and analyzing the public information on CoStar’s websites, nor has
20   CREXi alleged that being blocked from scraping has completely excluded it from
21   accessing public information on the relevant markets and therefore put it out of
22   business. CREXi in fact alleges the opposite – it was founded in 2015 (almost
23   thirty years after CoStar) by a group of seasoned CRE professionals who were
24   “astonished by how the CRE industry lagged behind other industries moving into
25   the digital age.” (CC ¶¶ 18, 21.) CREXi argues that hiQ stands for the
26   proposition that a private website cannot have a property right in information that
27   is public or otherwise owned by the brokers who submitted it. But hiQ does not
28   lend itself to such a broad reading that is entirely divorced from the contractual

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 1   relationships at issue and history between the parties. More importantly, this
 2   argument does not appear to help CREXi in establishing a violation of California’s
 3   Unfair Competition Law because it only highlights that CoStar cannot stop
 4   CREXi from obtaining CRE information for itself from other sources such as
 5   public records or the brokers themselves, unlike in hiQ where LinkedIn was the
 6   exclusive source of data.
 7            CREXi therefore fails to plead sufficient facts to establish its thirteenth
 8   claim based on violations for the unfair prong of the UCL and the Court dismisses
 9   this claim with leave to amend.
10   E.       Declaratory Relief
11            The Court finds the allegations in the Counterclaim and the surviving
12   claims are sufficient for CREXi to state a request for declaratory relief at this
13   stage.
14                                    IV.    CONCLUSION
15            Accordingly, the Court DENIES Costar’s Motion to Dismiss the
16   Counterclaim as to the ninth claim for trademark infringement, thirteenth claim for
17   unlawful violations of the UCL, and the fourteenth claim for declaratory
18   judgment, and GRANTS the Motion to Dismiss as to all other claims with leave
19   to amend to correct the deficiencies identified in this Order. Any amended
20   complaint shall be filed no later than July 12, 2022.
21
22            IT IS SO ORDERED.
23
24   DATED: June 17, 2022.
                                               CONSUELO B. MARSHALL
25                                             UNITED STATES DISTRICT JUDGE
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